                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF LOUISIANA

IN RE: HAROLYN ALISHA CADY SMITH                           CASE NO: 18-20391



                             TRANSMITTAL AND DEPOSIT OF
                                 UNCLAIMED FUNDS

   Now into Court, comes Keith A. Rodriguez, Standing Chapter 13 Trustee, who reports the

following:

                                                 1.

   That pursuant to Code Section 347(a) ninety days or more has passed since final distribution

was made under 11 U.S.C. in certain cases, and pursuant to Rule 3011, the name of the persons

whom such unnegotiated distribution checks were issued, the amount of the check and the

debtor(s)/creditor(s) last known address is as follows:

HAROLYN ALISHA CADY SMITH                                    Amount          3,042.05
1823 6TH ST
LAKE CHARLES, LA 70601

                                                 2.

   Your Trustee's check for 3,042.05 payable to the Clerk, U.S. Bankruptcy Court, has been

mailed.

   Respectfully submitted this 30th day of August, 2019.

                                                      /s/ Keith A. Rodriguez
                                                      KEITH A. RODRIGUEZ
                                                      STANDING TRUSTEE CHAPTER 13
                                                      CHAPTER 13 TRUSTEE
                                                      P O BOX 3445
                                                      LAFAYETTE, LA 70502-3445
                                                      (337)233-4413




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